           Case 2:06-cr-00323-MCE Document 31 Filed 05/02/07 Page 1 of 3


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     Federal Defender
 2   MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     JESUS DIAZ OLIVERA
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. 2:06-cr-00323-MCE
                                     )
12                  Plaintiff,       )     STIPULATION AND ORDER CONTINUING
                                     )     STATUS CONFERENCE
13        v.                         )
                                     )
14   JESUS DIAZ OLIVERA, et al.,     )     Date: May 17, 2007
                                     )     Time: 9:00 a.m.
15                  Defendants.      )     Judge: Morrison C. England, Jr.
     _______________________________ )
16
17        It is hereby stipulated between the parties, Mary M. French,
18   attorney for the defendant Jesus Diaz Olivera, Michael Bigelow,
19   attorney for defendant Javier Villalobos Garcia, Carl Edward Larson,
20   attorney for defendant Jose Maria Gomez Ortega, and Samuel Wong,
21   Assistant United States Attorney, attorney for the plaintiff, that the
22   Status Conference in this matter, currently scheduled for April 24,
23   2007, be continued until Thursday, May 17, 2007 at 9:00 a.m.
24        The primary language of each defendant in this matter is Spanish
25   such that communications between all defense counsel and their
26   respective clients, including all discovery, must take place through an
27   interpreter.   Defense counsel have received discovery but need
28   additional time to review and discuss the discovery produced by
           Case 2:06-cr-00323-MCE Document 31 Filed 05/02/07 Page 2 of 3


 1   plaintiff with their respective clients, and also to conduct necessary
 2   research, interview potential witnesses, and conduct on-going defense
 3   investigation.   The parties are also discussing a possible resolution
 4   of the case and additional time is needed for each defense counsel to
 5   properly advise his/her client on the ramifications of the proposed
 6   pretrial resolution in this case.      Further, counsel for defendant
 7   Ortega is in the process of having his client undergo a mental health
 8   evaluation.
 9        It is further stipulated that the period from April 24, 2007,
10   through and including May 17, 2007, should be excluded from computation
11   of time within which the trial of this case must be commenced under the
12   Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local
13   Code T4 based upon defense preparation.
14                                          Respectfully submitted,
15   Dated: April 19, 2007
16                                          DANIEL J. BRODERICK
                                            Federal Defender
17
                                            /s/ Mary M. French
18                                          ______________________________
                                            MARY M. FRENCH
19                                          Supervising Assistant
                                            Federal Defender
20                                          Attorney for Defendant
                                            JESUS DIAZ OLIVERA
21
22                                         /s/ Mary M. French for
                                           ______________________________
23                                         MICHAEL BIGELOW
                                           Attorney for Defendant
24                                         JAVIER VILLALOBOS GARCIA
25
                                           /s/ Mary M. French for
26                                         ______________________________
                                           CARL EDWARD LARSEN
27                                         Attorney for Defendant
                                           JOSE MARIA GOMEZ ORTEGA
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            Case 2:06-cr-00323-MCE Document 31 Filed 05/02/07 Page 3 of 3


 1   Dated: April 19, 2007                  MCGREGOR W. SCOTT
                                            United States Attorney
 2
 3                                          /s/ Mary M. French for
                                            ______________________________
 4                                          SAMUEL WONG
                                            Assistant U.S. Attorney
 5                                          per telephonic authorization
 6
 7                                        ORDER
 8        Based on the stipulation of the parties and good cause appearing,
 9   the Court hereby finds that the failure to grant a continuance in this
10   case would deny defendants’ counsel reasonable time necessary for
11   effective preparation, taking into account the exercise of due
12   diligence.   The Court specifically finds that the ends of justice
13   served by the granting of such continuance outweigh the interests of
14   the public and the defendants in a speedy trial.
15        Therefore, based on these findings and pursuant to the stipulation
16   of the parties, the Court hereby adopts the stipulation of the parties
17   in its entirety as its order.
18
     IT IS SO ORDERED.
19
     Dated: May 2, 2007
20
21                                        _____________________________
                                          MORRISON C. ENGLAND, JR.
22
                                          UNITED STATES DISTRICT JUDGE
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